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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

SUSANNAH WARNER KIPKE, ET                      *
AL.,
                         Plaintiffs,           *

              v.                               *
                                                       No. 1:23-cv-01293-GLR
                                               *
WES MOORE, ET AL.,
                                               *
                         Defendants.

      *      *       *         *       *   *       *      *     *     *      *      *

                                   ANSWER TO COMPLAINT

       Defendants Governor Westley Moore and Col. Roland L. Butler, Jr., sued in their

official capacities, through counsel, hereby answer the complaint filed against them by

plaintiffs as follows:

       1.     The United States Constitution and the decisions of the United States

Supreme Court described in paragraph 1 of the complaint speak for themselves. To the

extent the allegations in paragraph 1 of the complaint differ from the United States

Constitution and the decisions of the United States Supreme Court described therein, the

allegations are denied.

       2.     The decision of the United States Supreme Court in New York State Rifle &

Pistol Association v. Bruen, 142 S. Ct. 2111 (2022) (“Bruen”) speaks for itself. To the

extent the allegations in paragraph 2 of the complaint differ from Bruen, the allegations are

denied.
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       3.     The decision of the Appellate Court of Maryland described paragraph 3 of

the complaint speaks for itself. To the extent the allegations in paragraph 3 of the complaint

differ from the court decision described therein, the allegations are denied.

       4.     Defendants admit that the Maryland legislature enacted Senate Bill 1 and

House Bill 824, which take effect October 1, 2023. Defendants deny the remaining

allegations in paragraph 4 of the complaint.

       5.     The allegations contained in paragraph 5 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       6.     The allegations contained in paragraph 6 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       7.     The allegations contained in paragraph 7 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       8.     The allegations contained in paragraph 8 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       9.     Defendants are without knowledge or information to admit or deny the

allegations contained in paragraph 9 of the complaint, and therefore the allegations are

denied.




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       10.    Defendants admit that plaintiff Kipke holds a Maryland carry permit.

Defendants are without knowledge or information to admit or deny the remaining

allegations contained in paragraph 10 of the complaint, and therefore the allegations are

denied.

       11.    Defendants are without knowledge or information to admit or deny the

allegations contained in paragraph 11 of the complaint, and therefore the allegations are

denied.

       12.    The allegations contained in paragraph 12 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       13.    Defendants are without knowledge or information to admit or deny the

allegations contained in the first sentence of paragraph 13 of the complaint, and therefore

the allegations are denied. The remaining allegations contained in paragraph 13 of the

complaint are legal conclusions to which no response is required. To the extent a response

is required, the allegations are denied.

       14.    Defendants are without knowledge or information to admit or deny the

allegations contained in paragraph 14 of the complaint, and therefore the allegations are

denied.

       15.    The allegations contained in paragraph 15 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.




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       16.    Defendants are without knowledge or information to admit or deny the

allegations contained in the first sentence of paragraph 16 of the complaint, and therefore

the allegations are denied. The remaining allegations contained in paragraph 16 of the

complaint are legal conclusions to which no response is required. To the extent a response

is required, the allegations are denied.

       17.    The allegations contained in paragraph 17 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       18.    Defendants are without knowledge or information to admit or deny the

allegations contained in the first sentence of paragraph 18 of the complaint, and therefore

the allegations are denied. The remaining allegations contained in paragraph 18 of the

complaint are legal conclusions to which no response is required. To the extent a response

is required, the allegations are denied.

       19.    The allegations contained in paragraph 19 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       20.    Defendants admit the allegations in the first sentence of paragraph 20 of the

complaint, and further admit that Governor Moore is the head of the executive branch of

Maryland State government. The remaining allegations contained in paragraph 20 of the

complaint are legal conclusions to which no response is required.




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       21.    Defendants admit the allegations in the first sentence of paragraph 21 of the

complaint. The remaining allegations contained in paragraph 21 of the complaint are legal

conclusions to which no response is required.

       22.    The Maryland statutes described in paragraph 22 of the complaint speak for

themselves. To the extent the allegations in paragraph 22 of the complaint differ from the

statutes described therein, the allegations are denied.

       23.    The Maryland statutes described in paragraph 23 of the complaint speak for

themselves. To the extent the allegations in paragraph 23 of the complaint differ from the

statutes described therein, the allegations are denied.

       24.    The Maryland statutes and regulations described in paragraph 24 of the

complaint speak for themselves. To the extent the allegations in paragraph 24 of the

complaint differ from the statutes and regulations described therein, the allegations are

denied.

       25.    Senate Bill 1 speaks for itself. To the extent the allegations in paragraph 25

of the complaint differ from Senate Bill1, the allegations are denied.

       26.    Senate Bill 1 speaks for itself. To the extent the allegations in paragraph 26

of the complaint differ from Senate Bill 1, the allegations are denied.

       27.    Senate Bill 1 speaks for itself. To the extent the allegations in paragraph 27

of the complaint differ from Senate Bill 1, the allegations are denied.

       28.    The Maryland statute described in paragraph 28 of the complaint speaks for

itself. To the extent the allegations in paragraph 28 of the complaint differ from the statute

described therein, the allegations are denied.


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       29.    Senate Bill 1 speaks for itself. To the extent the allegations in paragraph 29

of the complaint differ from the statutes described therein, the allegations are denied.

Defendants deny that there is a “presumptive right” to carry on private property of others.

       30.    The Maryland statute described in paragraph 30 of the complaint speaks for

itself. To the extent the allegations in paragraph 30 of the complaint differ from the statute

described therein, the allegations are denied.

       31.    The Maryland statutes described in paragraph 31 of the complaint speak for

themselves. To the extent the allegations in paragraph 31 of the complaint differ from the

statutes described therein, the allegations are denied.

       32.    The Maryland statute described in paragraph 32 of the complaint speaks for

itself. To the extent the allegations in paragraph 32 of the complaint differ from the statute

described therein, the allegations are denied.

       33.    The Maryland statutes described in paragraph 33 of the complaint speak for

themselves. To the extent the allegations in paragraph 33 of the complaint differ from the

statutes described therein, the allegations are denied.

       34.    The Maryland statutes described in paragraph 34 of the complaint speak for

themselves. To the extent the allegations in paragraph 34 of the complaint differ from the

statutes described therein, the allegations are denied. Defendants deny the last sentence of

paragraph 34 of the complaint.

       35.    The Maryland statute described in paragraph 35 of the complaint speaks for

itself. To the extent the allegations in paragraph 35 of the complaint differ from the statute

described therein, the allegations are denied.


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       36.    The Maryland statute described in paragraph 36 of the complaint speaks for

itself. To the extent the allegations in paragraph 36 of the complaint differ from the statute

described therein, the allegations are denied. The allegations in last sentence of paragraph

36 of the complaint are legal conclusions to which no response is required.

       37.    The Maryland statutes described in paragraph 37 of the complaint speak for

themselves. To the extent the allegations in paragraph 37 of the complaint differ from the

statutes described therein, the allegations are denied.

       38.    The Maryland statutes described in paragraph 38 of the complaint speak for

themselves. To the extent the allegations in paragraph 38 of the complaint differ from the

statutes described therein, the allegations are denied. The allegations in the first sentence

of paragraph 38 of the complaint are legal conclusions to which no response is required.

       39.    Defendants deny the allegations in paragraph 39 of the complaint.

       40.    Defendants are without knowledge or information to admit or deny the

allegations contained in paragraph 40 of the complaint, and therefore the allegations are

denied.

       41.    The allegations contained in paragraph 41 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       42.    The allegations contained in paragraph 42 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.




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       43.    The allegations contained in paragraph 43 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       44.    Defendants are without knowledge or information to admit or deny the

allegations contained in the first sentence of paragraph 44 of the complaint, and therefore

the allegations are denied. The remaining allegations contained in paragraph 44 of the

complaint are legal conclusions to which no response is required. To the extent a response

is required, the allegations are denied.

       45.    Defendants are without knowledge or information to admit or deny the

allegations contained in the first sentence of paragraph 45 of the complaint, and therefore

the allegations are denied. The remaining allegations contained in paragraph 45 of the

complaint are legal conclusions to which no response is required. To the extent a response

is required, the allegations are denied.

       46.    The allegations contained in paragraph 46 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       47.    Defendants incorporate by reference herein their responses to the preceding

paragraphs of the complaint.

       48.    The allegations contained in paragraph 48 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       49.    Denied.


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       50.    The allegations contained in paragraph 50 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       51.    Denied.

       52.    Denied.

       53.    Denied.

       54.    Defendants incorporate by reference herein their responses to the preceding

paragraphs of the complaint.

       55.    Denied.

       56.    Denied

       57.    Defendants incorporate by reference herein their responses to the preceding

paragraphs of the complaint.

       58.    The allegations contained in paragraph 58 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       59.    The allegations contained in paragraph 59 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       60.    Denied.

       61.    Denied.

       62.    Defendants incorporate by reference herein their responses to the preceding

paragraphs of the complaint.


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       63.     The Maryland law described in paragraph 63 of the complaint speak for

themselves. To the extent the allegations in paragraph 63 of the complaint differ from the

statutes described therein, the allegations are denied.

       64.     Defendants are without knowledge or information to admit or deny the

allegations contained in paragraph 64 of the complaint, and therefore the allegations are

denied.

       65.     The allegations contained in paragraph 65 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       66.     The allegations contained in paragraph 66 of the complaint are legal

conclusions to which no response is required. To the extent a response is required, the

allegations are denied.

       67.     Denied.

       68.     Denied.

       69.     Paragraph 69 of the complaint does not contain factual assertions but rather

a request for relief. To the extent a response is required, paragraph 69 is denied.

       70.     Paragraph 70 of the complaint does not contain factual assertions but rather

a request for relief. To the extent a response is required, paragraph 70 is denied.

       71.     Paragraph 71 of the complaint does not contain factual assertions but rather

a request for relief. To the extent a response is required, paragraph 71 is denied.

       72.     Paragraph 72 of the complaint does not contain factual assertions but rather

a request for relief. To the extent a response is required, paragraph 72 is denied.


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       73.    Paragraph 73 of the complaint does not contain factual assertions but rather

a request for relief. To the extent a response is required, paragraph 73 is denied.

       74.    Paragraph 74 of the complaint does not contain factual assertions but rather

a request for relief. To the extent a response is required, paragraph 74 is denied.



                              AFFIRMATIVE DEFENSES

                           FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred by laches.

                         SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred because the complaint fails to state a claim upon which

relief can be granted.

                          THIRD AFFIRMATIVE DEFENSE

       Plaintiffs lack standing.

                         FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, by sovereign immunity.



       WHEREFORE,            having      fully     answered       plaintiffs’    complaint,

defendants respectfully request that the Court deny the plaintiffs’ relief requested in the

complaint, enter judgment in favor of the defendants and against the plaintiffs,

award the defendants their costs and attorney fees incurred in defending this action, and

grant such further relief as this Court may deem just and appropriate.




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                                          Respectfully submitted,

                                          ANTHONY G. BROWN
                                          Attorney General of Maryland


                                          /s/ Robert A. Scott
                                          ___________________________
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June 30, 2023                             Attorneys for Defendant




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                               CERTIFICATE OF SERVICE

      I certify that, on this 30th day of June, 2023 the foregoing was served by CM/ECF

on all registered CMF users.



                                              /s/ Robert A. Scott
                                              ________________________
                                              Robert A. Scott




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